                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF WISCONSIN
                                MILWAUKEE DIVISION


SHANNON LEWANDOWSKI

              Plaintiff,

       v.                                         Case No: 16-CV-1089

CITY OF MILWAUKEE

              Defendant.


                                          ORDER


       Based upon the submissions of the parties, and for good cause shown,

       IT IS ORDERED that the discovery deadline in this matter be extended to December 21,

2018; and

       IT IS FURTHER ORDERED that the dispositive motion deadline in this matter be

extended to February 18, 2019.

       Dated this __________ day of ____________________________, 2018.

                                                  BY THE COURT:



                                                  ____________________________________
                                                  Hon. William E. Duffin
                                                  United States Magistrate Judge




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